	NO. 07-11-0323-CR

	IN THE COURT OF APPEALS

	FOR THE SEVENTH DISTRICT OF TEXAS

	AT AMARILLO

	PANEL D

	APRIL 27, 2012
	______________________________

	JENNIFER BROOKE HODGES,

		Appellant

	v.

	THE STATE OF TEXAS, 

		Appellee
                        _______________________________
                                       
	FROM THE 320th DISTRICT COURT OF POTTER COUNTY;

	NO. 62, 342-D; HON. DON EMERSON, PRESIDING
	_______________________________
	
	On Motion to Dismiss
	_______________________________

Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.

Appellant Jennifer Brooke Hodges, by and through her attorney, has filed a motion to dismiss her appeal, signed by appellant, because she no longer desires to prosecute it.  Without passing on the merits of the case, we grant the motion to dismiss pursuant to Texas Rule of Appellate Procedure 42.2(a) and dismiss the appeal.  Having dismissed the appeal at appellants request, no motion for rehearing will be entertained, and our mandate will issue forthwith.

Do not publish.					Per Curiam		          
